SUPPORTING EVIDENCE

EXHIBIT A

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PB

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August 19, 2024

BY EMAIL ONLY (Netburn NYSDChambers@nysd.uscourts.gov)

Hon. Sarah Netburn

United States District Court
Southern District of New York
40 Foley Square

New York, New York 10007

Re: REEVES V. UNITED STATES OF AMERICA
No. 19 Civ. 8629 (SN)

Your Honor,

As you know, I am counsel (“Counsel”) to Michael Reeves, plaintiff (the
“Plaintiff’) in the above-referenced matter.

I hope this letter finds you well. I am writing on behalf of my client, Mr.
Michael Reeves, in regard to extraordinary circumstances that urgently necessitate
ex parte communication with the Court as per Canon 3(A): A Judge Should Perform
the Duties of the Office Fairly, Impartially and Diligently, Section (4).

As stipulated under Canon 3(A)(4)(a) and (b), we seek the Court's permission
for this ex parte correspondence, emphasizing that the communication will be
limited strictly to administrative or emergency scheduling matters and will not touch
upon substantive legal discussions. We fully understand and respect the limitations
on ex parte communications and commit to ensuring transparency, providing all
parties in the case the right to respond
appropriately.

Mr. Reeves expresses a grave concern for his life and legal rights, as detailed
in the attached personal letter and police report. He believes that the danger he faces,
coupled with allegations of ongoing harassment and bad faith negotiations by the
defendants during mediation, constitutes the extraordinary circumstances
necessitating this request. The enclosed documents bring to light critical and

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immediate issues that warrant attention to protect Mr. Reeves's safety and ensure his
fair treatment throughout the legal process.

We aim to advocate for Mr. Reeves's safety while complying with judicial
protocols. We firmly believe that acknowledging and addressing these pressing
issues through an exception to the usual prohibition on ex parte communications is
essential to avert any potential harm to Mr. Reeves.

Please find enclosed the personal letter from Mr. Reeves and the
corresponding police report and other documents that elaborate on the threats ,
obstruction of justice, and harassment he faces. These files should provide context
to the urgency and severity of the situation compelling this request.

We appreciate your understanding and are ready to discuss this matter further,
as deemed appropriate by Your Honor, to ensure Mr. Reeves is afforded the
protection and impartiality he rightfully deserves.

Thank you for your time and urgent attention to this matter.

Respectfully yours,

JORDAN P. BREWSTER

JPB
Enclosures
ce
Michael Reeves

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Please be advised that multiple judges have RULED that | was not a
danger to the community. As my case against the NYPD clearly shoes, | was
falsely arrested for an attempted rape. This is something that never ever
happened at all. The entire event was made up so that they could get a basis
for the current administrative warrant for them to surveil and harass me on the
taxpayers dollar. | earnestly believe NYPD officers conspired with NY-ICE, only
to later apologize to me after tainting my nearly clean criminal record with a sex
offense. Attempted rape is a reportable charge and NY-ICE knows this. This is
all they needed to start this current harassment and abuse of government
power against me. Please be aware that after learning from my childhood
mistakes, | have vowed and remained free from crime and turned my life
around. This act was a violation of my life and freedom and has besmirched my
character.

In conclusion, | am praying that this court intervenes and brings to justice
those who are responsible for trying to intercept justice by once again
terrorizing me and trying to have me either deported or killed.

Thank you for your time and | am begging for your help please.
Respectfully Submitted,
/s/ Michael Reeves

Michael Reeves
217 Boerum Street, 3b, Brooklyn,
NY 11206

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Michael Reeves
217 Boerum Street, 3b, Brooklyn, NY 11206

BY EMAIL ONLY (Netburn NYSDChambers@nysd.uscourts.gov)

Hon. Sarah Netburn

United States District Court
Southern District of New York
AO Foley Square

New York, New York 10007

Re: Reeves v. United States of America
No. 19 Civ. 8629 (SN)

| am writing this letter to share with you my belief that my life and/or
freedom is in danger from the same defendants who are at the heart of this
lawsuit.

For the past 27 years my life has been destroyed by immigration
authorities. | have spent a combined of over 7 years in immigration detention. |
won my immigration case in August 2019 and was finally granted official status
in this country.

As the Court might Know, | have two ongoing cases stemming from long-term
issues with the immigration officials in this country, especially ICE and DHS.
The other case is Reeves vs. Bergen County, et al., currently in the District of
New Jersey, Docket No.: 2:18-cv-14061.

Both cases are currently in the process of mediation. Please understand
that after my cases went into mediation my life was ruined. | began getting
followed by men, similar to those that beat me and abducted me in June of
2018. As a result of the increasing surveillance and strange encounters | had
near my apartment, | fled my apartment to hotels in New Jersey seeking a place
to rest without living in fear. This did not work, and they followed me from hotel
to hotel constantly surveilling me, waiting to drive me mad or try to implicate
me in a crime that they set up and entrap me into.

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With all the harassment and surveillance, | finally filed a police report.
(See report attached). Upon filing the report, | discovered that the people
involved were connected to an administrative warrant from NY-ICE. This made
no sense to me as | have been granted full legal status here in this country since
August 2019. Furthermore, | hadn’t committed a crime, even a speeding ticket,
since the early 1990s. The very same people who are the subject of my pending
mediations.

After being shocked by the revelation that there was an administrative
warrant. The only thing that | thought would prompt such a thing was the fact |
was baselessly arrested for a felony by the NYPD, and they later released me
stating that they didn’t have the evidence to pursue a criminal complaint. When
| was released, | was not even provided paperwork. The arrest is the subject of
a current lawsuit in REEVES vs. The City of New York. (24-cv-2408).

It is my belief that the arrest was pretextual for NY-ICE to be able to arrest
and deport me and/or allocate resources to surveil me, harass me, and torture
me psychologically until | break down. | have not been in any trouble with the
law in 36 years, since | was a teenager. They are intimidating me, trying to kill
me so that | never have my day in court.

Let me be clear, | am begging this court for a federal investigation. | am
also begging for protection so that my cases can continue undisturbed. |
believe the defendants are aware of this plot, conspiracy to destroy me and are
merely biding their time until | am no longer a threat. Also, | want the Court to
know that this intimidation is affecting and will continue to affect my ability to
pursue these matters. | have lost countless hours of sleep trying to escape the
constant surveillance and harassment since | had the matter go into mediation
and after my false arrest. The only way this can be mitigated is if their
harassment, surveillance, and intimidation end. Without your help, or another
federal agency stepping in to help, this matter will never be heard on the
merits.

All the defendants have been negotiating the mediations in bad faith.
They are waiting for me to be arrested by NY-ICE and killed or deported. Evena
lay person can see that these are bad faith offers. All the defendants are waiting
for NY-ICE to destroy and get rid of me to get rid of this case(s). Please

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understand, | was illegally deported once before. | have won my immigration
case. Immigration will not allow me to go on with my life after | beat them, and
| am now asking for damages for what they did to me. | am the subject of
endless targeting.

Please be advised that multiple judges have RULED that | was not a
danger to the community. As my case against the NYPD clearly shoes, | was
falsely arrested for an attempted rape. This is something that never ever
happened at all. The entire event was made up so that they could get a basis
for the current administrative warrant for them to surveil and harass me on the
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Respectfully Submitted,
/s/ Michael Reeves

Michael Reeves
217 Boerum Street, 3b, Brooklyn,
NY 11206

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Sayreville Police Department
SAYREVILLE, NJ

Incident # 24015689
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24015689 “APPROVED
CASE TITLE LOCATION |

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(4030) OFFICER'S REPORT

Fels cmmacesiiidl mg: asosssanegnggepneneuorannnmanaasaacetg or sumone
REPORTING PERSON MICHAEL DUKE REEVES ‘MALE BLACK

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ReGf# STATE STOLENS  DATEREC © RECS RECBY
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TYPE DESCRIPTION — a

MAKE = MODEL SERIAL

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REPORT NUMBER _ REPORT TYPE REVIEW STATUS ©

Co INCIDENT Oe NPPROVED

On 08/04/2024 at 0801 hours, I (Ptl. K. Holon) was dispatched to the front lobby of police
headquarters for a walk-in report. Dispatch advised the reporting party wanted to report a suspicious
person.

Upon arrival, I met with the reporting party Michael Reeves. Michael seemed to be in an anxious
state, he was sitting on the bench in the front lobby continuously moving. I asked Michael, if he was

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Sayreville Police Department
SAYREVILLE, NJ

Incident # 24015689
Summary

@yiilesielntsleloln

okay, he replied no someone is following me. Michael advised he lives in Brooklyn, New York in
an apartment complex with gang members. He stated he overheard his neighbor above him commit
a "horrible crime" and reported to New York's Crime Stopper, (Crimestoppers.nypdonline.org). He
stated he knows the neighbor above is in the "Blood gang". I asked him if he can identify his
neighbor. He was only aware of the neighbors first name, Timothy. He stated he believed him to be
about 5' 11" wears glasses and has a low haircut.

At this time, Michael stated he believes Timothy has found out that he report a crime and is now
harassing him. He stated he knows Timothy has a "Sonic device" in his apartment that shoots
electronic waves into Michael's apartment blocking wifi signal. He also advised there was a tracking
device found in his car, the device was labeled (ANT-AP). He has since dumped the car in a parking
lot and left it in New York. It was at this time, Michael advised he owns a car dealership "Car
Zone". He stated he got into a new car and has traveled to six different motel/hotel rooms, where he
has been followed over the past two weeks. He believes he is being followed by Timothy, due to the
same knocking on the walls and the same phrases being repeated in each motel he goes too. Michael
advised, Timothy will stomp or knock three times and then state "Bitch, you can't run." or state
"You a little dick, I got a big dick, you can't hide."

At this time, I asked Michael for his drivers license, he handed me a medical card with his name and
date of birth. I advised Michael to stay seated in the lobby. I spoke with Lt. Moat to advise her of the
situation, she advised me to have dispatch run Michael's name in the NCIC system to get a proper
identification. Dispatch was able to provide the proper identification for Michael. Dispatch also
received a NCIC hit on Michael (NIC/N8880112446) which stated he is a previously deported felon,
advising to contact ICE. Lt. Moat began to contact ICE.

At this time, Ptl. Lopez and I spoke with Michael once more. We asked Michael to tell his story
once more to make sure we were not missing any information. Ptl. Lopez also asked Michael for his
driver's license, he replied he left it in his other car and drove the new car here. Ptl. Lopez went to
the front parking lot and had dispatch run the vehicle registration plate. Dispatch advised the plate
did not come back, stating nothing on file. We asked Michael if he had any paperwork to provide
showing the vehicle is on file. He stated the information would not be on file due to it being a
dealership car. He also became anxious of the fact we were looking at his vehicle. He stated he
wanted to file a complaint, against us not taking a report on the information he was providing. I
advised Michael, we are taking the report, we are now investigating the situation, and he can sign
complaints if he wishes. It was at this time, Ptl. Lopez stayed with Michael in the lobby, and I spoke
with Sgt, Taylor. I advised Sgt. Taylor of the situation. Sgt. Taylor and I then spoke with Michael
once more.

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Sayreville Police Department
SAYREVILLE, NJ

Incident # 24015689
Summary

While Sgt. Taylor spoke with Michael, he advised all the vehicles information was behind the

registration plate. Sgt. Taylor and I removed the vehicle plate to access the information. Sgt. Taylor
provided the information to dispatch.

Simultaneously while Sgt. Taylor was confirming the information on the vehicle, Lt. Moat spoke
with Officer Michael Rivera #3912 from the New York ICE unit. She stated the NCIC was for an
administrative warrant. Ofc. Rivera asked if Michael was detained at this time. Michael was not
detained for the purposes of the ICE warrant, but he was being detained until we could verify the
registration on his vehicle. Due to the vehicle coming back not on file, we were not going to permit
him to drive away in the vehicle. Ofc. Rivera stated it would take at least an hour to respond to
police headquarters and due to the administrative warrant, we were unable to arrest Michael.

Dispatch contacted the North Carolina State Police who were able to locate the vehicles registration.
Dispatch relayed to us that the license plate was properly registered.

A short time later, we advised Michael he is free to go. Sgt. Taylor provided him with a copy of the
complaint form, which he ultimately decided not to complete. I also provided him with a business
card and case number. I advised him how he may obtain a copy of the police report. Michael left
police headquarters without further incident.

Nothing further.

(©) j iforstmy Biel)

REPORTING OFFICER ttre DATETIME ENTERED
HOLON, K ( 208 ) 08-04-2024 09:37:02
APPROVING OFFICER = DATETIME APPROVED
TAYLOR, J ( 163 ) 08-04-2024 15:05:01

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